
BOYD, Justice,
dissenting.
Article V, section 3(b)(4) provides in part that this Court may review any decision of a district court of appeal “that is certified by it to be in direct conflict with a decision *1388of another district court of appeal.” The decision before us was rendered without an opinion of substance, but with a statement certifying that the decision directly conflicts with another district court decision. We cannot tell from the face of the reported decision below what principle of law is in question. I believe that it is important to an exercise of our discretionary jurisdiction that we be able to tell from the face of the decision whether the district court’s certification of direct conflict is accurate. I do not interpret article V, section 3(b)(4) as allowing us to look at the record of the case in order to make that determination.
When the 1980 amendment to article V was proposed, the people of Florida were told that it would end the practice of looking into the record of a case to determine conflict of decisions. In order to create conflict, a decision must be accompanied by an opinion that at least makes some statement about the law.
I therefore dissent on the ground of lack of jurisdiction.
